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       In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                           No. 14-670V
                                      Filed: August 11, 2015

* * * * * * * * * * * * * * * *                          UNPUBLISHED
LARRY SCOTT PEARCE,                         *
                                            *
              Petitioner,                   *            Special Master Dorsey
                                            *
v.                                          *
                                            *            Joint Stipulation on Damages;
SECRETARY OF HEALTH                         *            Influenza (Flu) Vaccine;
AND HUMAN SERVICES,                         *            Neurological Demyelinating Injury;
                                            *            Transverse Myelitis.
              Respondent.                   *
                                            *
* * * * * * * * * * * * * * * *
Ronald Craig Homer, Conway, Homer & Chin-Caplan, P.C., Boston, MA, for petitioner.
Alexis B. Babcock, United States Department of Justice, Washington, DC, for respondent.

                                            DECISION1

        On July 29, 2014, Larry Scott Pearce (“petitioner”), filed a petition pursuant to the
National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-1 to -34 (2006).
Petitioner alleged that as a result of receiving the influenza (flu) vaccination on September 21,
2011, he suffered a neurological demyelinating injury, specifically transverse myelitis. Petition
at 1. Petitioner further alleged that he suffered the residual effects or complications of his
vaccine injury for more than six months. Id. at 17. On August 11, 2015, the parties filed a
stipulation, stating that a decision should be entered awarding compensation.

1
  Because this decision contains a reasoned explanation for the undersigned’s action in this case,
the undersigned intends to post this ruling on the website of the United States Court of Federal
Claims, in accordance with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116
Stat. 2899, 2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by
Vaccine Rule 18(b), each party has 14 days within which to request redaction “of any
information furnished by that party: (1) that is a trade secret or commercial or financial in
substance and is privileged or confidential; or (2) that includes medical files or similar files, the
disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule
18(b).

2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National
Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended,
42 U.S.C. §§ 300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to
individual sections of the Vaccine Act are to 42 U.S.C.A. § 300aa.

                                                  1
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       Respondent denies that petitioner’s transverse myelitis was caused in fact by his
influenza vaccination, and denies that the vaccine caused any other injury or his current
condition. Nevertheless, the parties agree to the joint stipulation, attached hereto as Appendix A.
The undersigned finds the stipulation reasonable and adopts it as the decision of the Court in
awarding damages, on the terms set forth therein.

       The parties stipulated that petitioner shall receive the following compensation:

       A lump sum of $360,000.00, in the form of a check payable to petitioner. This amount
       represent compensation for all items of damages that would be available under 42 U.S.C.
       § 300-aa-15(a).

       Stipulation ¶ 8.

       The undersigned approves the requested amount for petitioner’s compensation.
Accordingly, an award should be made consistent with the stipulation.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation.3

       IT IS SO ORDERED.

                                             s/ Nora Beth Dorsey
                                             Nora Beth Dorsey
                                             Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                 2
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